Mr. Johnny McMahan 6517 Congo Road Benton, AR 72015
Dear Mr. McMahan:
You have requested certification, pursuant to A.C.A. § 7-9-107, of the following popular name and ballot title for a proposed amendment to the Arkansas Constitution:
                              POPULAR NAME
AN AMENDMENT TO ABOLISH THE SALES TAX ON USED MOTOR VEHICLES
                              BALLOT TITLE  AN AMENDMENT TO THE CONSTITUTION OF THE STATE OF ARKANSAS TO ABOLISH AND REPEAL ALL LAWS THAT REQUIRE THE PAYMENT OF ANY SALES, USE, EXCISE OR GROSS RECEIPTS TAX ON THE SALE, TRANSFER OF OWNERSHIP OR LICENSING OF A USED MOTOR VEHICLE; REQUIRING THE AMENDMENT TO BE LIBERALLY CONSTRUED TO THE BENEFIT OF THE TAXPAYER; RENDERING THE PROVISIONS OF THE AMENDMENT TO BE SEVERABLE; REPEALING ALL LAWS AND CONSTITUTIONAL PROVISIONS THAT CONFLICT WITH THE AMENDMENT; DECLARING THE AMENDMENT SELF-EXECUTING AND BECOMING EFFECTIVE ON JAN. 1, 2001.
The Attorney General is required, pursuant to A.C.A. § 7-9-107, to approve and certify the popular name and ballot title of all proposed initiative and referendum acts or amendments before the petitions are circulated for signature. The law provides that the Attorney General may substitute and certify a more suitable and correct popular name and ballot title, if he can do so, or if the proposed popular name and ballot title are sufficiently misleading, may reject the entire petition.
A.C.A. § 7-9-107 neither requires nor authorizes this office to make legal determinations concerning the merits of the act or amendment, or concerning the likelihood that it will accomplish its stated objective. Consequently, this review has been limited to a determination, pursuant to the guidelines that have been set forth by the Arkansas Supreme Court, discussed below, of whether the proposed popular name and ballot title accurately and impartially summarize the provisions of your proposed amendment.
The purpose of my review and certification is to ensure that the popular name and ballot title honestly, intelligibly, and fairly set forth the purpose of the proposed amendment. See Arkansas Women's Political Caucusv. Riviere, 282 Ark. 463, 466, 677 S.W.2d 846 (1984).
The popular name is primarily a useful legislative device. Pafford v.Hall, 217 Ark. 734, 233 S.W.2d 72 (1950). It need not contain detailed information or include exceptions that might be required of a ballot title, but it must not be misleading or give partisan coloring to the merit of the proposal. Chaney v. Bryant, 259 Ark. 294, 532 S.W.2d 741
(1976); Moore v. Hall, 229 Ark. 411, 316 S.W.2d 207 (1958). The popular name is to be considered together with the ballot title in determining the ballot title's sufficiency. Id.
The ballot title must include an impartial summary of the proposed amendment that will give the voter a fair understanding of the issues presented. Hoban v. Hall, 229 Ark. 416, 417, 316 S.W.2d 185 (1958); Beckerv. Riviere, 270 Ark. 219, 223, 226, 604 S.W.2d 555 (1980). According to the court, if information omitted from the ballot title is an "essential fact which would give the voter serious ground for reflection, it must be disclosed." Bailey v. McCuen, 318 Ark. 277, 285, 884 S.W.2d 938 (1994), citing Finn v. McCuen, 303 Ark. 418, 798 S.W.2d 34 (1990); Gaines v.McCuen, 296 Ark. 513, 758 S.W.2d 403 (1988); Hoban v. Hall, supra; andWalton v. McDonald, 192 Ark. 1155, 97 S.W.2d 81 (1936). At the same time, however, a ballot title must be brief and concise (see A.C.A. §7-9-107(b)); otherwise voters could run afoul of A.C.A. § 7-5-522's five minute limit in voting booths when other voters are waiting in line.Bailey v. McCuen, supra. The ballot title is not required to be perfect, nor is it reasonable to expect the title to cover or anticipate every possible legal argument the proposed measure might evoke. Plugge v.McCuen, 310 Ark. 654, 841 S.W.2d 139 (1992). The title, however, must be free from any misleading tendency, whether by amplification, omission, or fallacy; it must not be tinged with partisan coloring. Id. A ballot title must convey an intelligible idea of the scope and significance of a proposed change in the law. Christian Civic Action Committee v. McCuen,318 Ark. 241, 884 S.W.2d 605 (1994). It has been stated that the ballot title must be: 1) intelligible, 2) honest, and 3) impartial. Becker v.McCuen, 303 Ark. 482, 798 S.W.2d 71 (1990), citing Leigh v. Hall,232 Ark. 558, 339 S.W.2d 104 (1960).
Having analyzed your proposed amendment, as well as your proposed popular name and ballot title, under the above precepts, I find that the proposed popular name should be approved as submitted. However, I find that the following proposed ballot title should be substituted for your proposed ballot title in order to ensure that the voters will be more fully and accurately apprised of the contents of the proposed amendment:
                              BALLOT TITLE  AN AMENDMENT TO THE CONSTITUTION OF THE STATE OF ARKANSAS TO ABOLISH AND REPEAL ALL LAWS, STATUTES, CONSTITUTIONAL PROVISIONS OR GOVERNMENT EDICTS THAT IMPOSE OR REQUIRE THE LEVY, PAYMENT OR COLLECTION OF ANY SALES, USE, EXCISE OR GROSS RECEIPTS TAX ON THE PURCHASE, SALE, TRANSFER OF OWNERSHIP, REGISTRATION OR LICENSING OF A USED MOTOR VEHICLE IN THE STATE OF ARKANSAS; REQUIRING THE AMENDMENT TO BE LIBERALLY CONSTRUED TO THE BENEFIT OF THE TAXPAYER; RENDERING THE PROVISIONS OF THE AMENDMENT TO BE SEVERABLE; REPEALING ALL LAWS AND CONSTITUTIONAL PROVISIONS THAT CONFLICT WITH THE AMENDMENT; DECLARING THE AMENDMENT SELF-EXECUTING AND BECOMING EFFECTIVE ON JAN. 1, 2001.
Pursuant to A.C.A. § 7-9-108, instructions to canvassers and signers must precede every petition, informing them of the privileges granted by the Constitution and of the penalties imposed for violations of this act. Enclosed herewith, over the signature of the Attorney General, are instructions that should be incorporated in your petition prior to circulation.
Sincerely,
MARK PRYOR Attorney General
Enclosure